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                    IN    THE    UNITED   STATES    DISTRICT     COURT
                                                                            CLERK, U.S. r■:y-?,\CT COUHT
                    FOR    THE   EASTERN   DISTRICT       OF   VIRGINIA
                                                                               ALEXAND-.i.'.. Vii-JGiWIA

                                 Alexandria Division



UNITED     STATES    OF   AMERICA,           )
                                             )      Criminal     No.   I:96cr227
                          Respondent,        )



                  vs.



KURT     SHAWN    HANEIPH,


                          Defendant.




                                   NOTICE   OF    APPEAL




     AND NOW the defendant KURT SHAWN HANEIPH (hereinafter "Mr.
Haneiph")do hereby requests a filing of Notice of Appeal pursuant
this Court's adversed ORDER entered July 14, 2008, from Mr. Haneiph's
pro se Motion under 18 U.S.C. § 3582(c)(2).

     WHEREFORE, Mr. Haneiph requests a stamped return copy (an
extra copy has been submitted with Notice of Appeal with a self-
stamped     envelope)       of   said document.         The Clerk's    assistance     in
this matter is greatly appreciated.                     Thanks   for the service.




                                                 Respectfully Submitted,




                                                 KURT    SHAWN   HANEIPH,
                                                 Reg.    No.   42060-083
                                                 F.C.I.    McKean
                                                 Post Office Box 8000
                                                 Bradford, Pennslyvania        16701
cc.

Filed:     July    17,    2008

ksh
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                                                                            Federal Correctional Institution McKean
                                                                            Name: Kurt S.        Haneiph
                                                                                                                        2a
                                                                            Reg.#: 42060-083
                                                                            P.O. Box 8000
                                                                            Bradford, PA 16701
                                                                                                                                             ^Virginia
                                                                                                                      Alexandria? VaSfiW 22314-57^8
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